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16   and OTTOMOTTO LLC
17                                UNITED STATES DISTRICT COURT
18                             NORTHERN DISTRICT OF CALIFORNIA
19                                      SAN FRANCISCO DIVISION
20   WAYMO LLC,                                            Case No. 3:17-cv-00939-WHA
21                         Plaintiff,                      DEFENDANTS UBER
                                                           TECHNOLOGIES, INC. AND
22          v.                                             OTTOMOTTO LLC’S
                                                           FEBRUARY 1, 2018
23   UBER TECHNOLOGIES, INC.,                              ROLLING WITNESS LIST
     OTTOMOTTO LLC; OTTO TRUCKING LLC,
24                                                         Trial Date: February 5, 2018
                           Defendants.
25

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     DEFENDANTS UBER AND OTTOMOTTO’S FEBRUARY 1, 2018 ROLLING WITNESS LIST
     Case No. 3:17-cv-00939-WHA
     sf-3864054
 1          Defendants Uber Technologies, Inc. and Ottomotto LLC (collectively, “Uber”) submit the

 2   following witness list pursuant to the Court’s Order to maintain a “rolling, written list of the next

 3   seven or fewer witnesses it intends to call at trial.” (Dkt. 2340 at 1.) Pursuant to the parties’

 4   agreements, Uber lists the witnesses in the order in which Defendants intend to call them,

 5   including three witnesses for which the parties have agreed Uber’s cross-examination can go

 6   beyond the scope of Waymo’s direct examination during Waymo’s case-in-chief. (1/30/18 Hr’g

 7   Tr. at 106:8-19, 112:11-23.) Uber anticipates that the order of the witnesses listed below will

 8   change depending on the presentation of Waymo’s case. Uber will promptly notify Waymo of

 9   any change in the witness order (see id. at 106:8-19), and the witness order will be updated in the

10   next rolling witness list Uber provides pursuant to the Court’s order. (Dkt. 2340.)

11          1. Travis Kalanick

12          2. Eric Friedberg

13          3. Alexander (Sasha) Zbrozek

14          4. John Krafcik

15          5. Sebastian Thrun

16          6. Scott Boehmke

17          7. James Haslim

18          8. David Drummond (by deposition)

19          Pursuant to the Court’s order on closure of the courtroom (see Dkt. 2492 at 3 ¶ 3(a)), Uber

20   does not believe that any items of evidence or argument to be presented with the above-named

21   witnesses require courtroom closure, although Waymo may have a different view.

22
     Dated: February 1, 2018                        MORRISON & FOERSTER LLP
23

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                                                    By: /s/ Arturo J. González
25                                                      ARTURO J. GONZÁLEZ
26                                                       Attorneys for Defendants
                                                         UBER TECHNOLOGIES, INC. and
27                                                       OTTOMOTTO LLC
28
     DEFENDANTS UBER AND OTTOMOTTO’S FEBRUARY 1, 2018 ROLLING WITNESS LIST
     Case No. 3:17-cv-00939-WHA
     sf-3864054
